
*795OPINION.
Aeundell:
The parties are in agreement that our decision on the invested capital question is governed by the provisions of section 331 of the Revenue Act of 1918. Section 331 provides, in a situation such as we have here, that for the purpose of determining invested capital no asset transferred or received from the previous owner shall “be allowed a greater value than would have been allowed under this title in computing the invested capital of such previous owner if such asset has not been so transferred or received.”
We have no evidence before us of the cost of the property transferred to the petitioner by the Bauman Iron Works of Reading, *796Pennsylvania, and the Architectural Iron Works, and must, therefore, affirm the action of the respondent. See Union Credit Reporting Co., 6 B. T. A. 600.
Not having been informed of the amount, cost or value of the property on which depreciation was taken, we are without a basis to determine whether the amount should be different from that allowed by the respondent.
The record.is devoid of evidence on the questions raised involving loss on discarded machinery and gain or loss on the sale of buildings and land, because of which the respondent’s action in connection therewith is sustained.

Judgment will be entered for the respondent.

